          Case 3:11-cr-05746-DMS                         Document 95                Filed 03/12/12              PageID.310              Page 1 of 2

                                                                                                                                     FILED
    ""AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
               Sheet I                                                                                                              MAR 122012
                                                                                                                              ClERK U.S. DISTRICT COURT        .
                                                                                                                        SOUTHERN DIS$icTOF CAUFORNIi'
                                             UNITED STATES DISTRICT COURT                                               BY         Iw1       OEPun
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                        ;.
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                lAIR OSVALDO GARCIA-JIMENEZ (6)                                    Case Number: IICR5746-DMS
                                                                                   Richard I Boesen CIA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 29214298

    o
    THE DEFENDANT:
    jgI pleaded guilty to count(s)_5_o_f_t_he_In_fo_rm_a_ti_on_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                      Nature of Offense                                                                                 Number(s)
8 USC 1326                            DEPORTED ALIEN FOUND IN THE UNITED STATES                                                            5




        The defendant is sentenced as provided in pages 2 through _---:2::.-._ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 o Count(s)._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0 areO dismissed on the motion of the United States.
  ~ Assessment: $100.00.



  ~ Fine waived.                                    o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney ofany material change in the defendant's economic circumstances.

                                                                               MARCH 9, 2012




                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                                                               llCR5746-DMS
      Case 3:11-cr-05746-DMS                        Document 95         Filed 03/12/12      PageID.311           Page 2 of 2


AO 245B (CASD) (Rev. 12111) 1udgment in a Criminal Case
            Sheet 2 -Imprisonment

                                                                                            Judgment - Page _ _2_ of          2
 DEFENDANT: JAIR OSVALDO GARCIA-JIMENEZ (6)
 CASE NUMBER: llCRS746-DMS
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY (30) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before -------------------------------------------------------------
          o    as notified by the United States Marshal.

          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                    By ________~~~~~~~~~~--------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    llCR5746-DMS
